     Case: 1:19-cv-06859 Document #: 28 Filed: 04/29/20 Page 1 of 3 PageID #:111




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JAN BUKOWSKI,                 )
                              )                        Case No. 2019-cv-6859
         Plaintiff,           )
                              )                        Hon. Sharon Johnson Coleman
v.                            )
                              )                        Magistrate Judge Maria Valdez
                              )
CHICAGO MEAT AUTHORITY, INC., )
                              )                        JURY DEMANDED
                              )
         Defendant.           )

                         FUKSA KHORSHID, LLC’S MOTION TO
                        WITHDRAW AS COUNSEL FOR PLAINTIFF

        NOW COMES Fuksa Khorshid, LLC (“Fuksa Khorshid”), attorneys for the Plaintiff, Jan

Bukowski (“Plaintiff”), and moves this Honorable Court for leave to withdraw as counsel for the

Plaintiff and in support thereof states as follows:

        1.      Plaintiff retained Fuksa Khorshid to represent him with respect to the subject

matter of this litigation.

        2.      Professional reasons which have arisen since the commencement of this action

now compel Fuksa Khorshid to seek leave to withdraw as counsel for Plaintiff in this matter.

        3. Rule 1.16(a) of the Illinois Rules of Professional Conduct states in relevant part:

              . . . a lawyer shall not represent a client or, where representation has commenced,
             shall withdraw from the representation of a client if:

             (5) the client fails substantially to fulfill an obligation to the lawyer regarding the
             lawyer’s services and has been given reasonable warning that the lawyer will
             withdraw unless the obligation is fulfilled;

        4.      Circumstances exist, as contemplated in Rule 1.16(a)(5), which make continued

representation of Plaintiff impossible.


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    Case: 1:19-cv-06859 Document #: 28 Filed: 04/29/20 Page 2 of 3 PageID #:112




       5.      Fuksa Khorshid has duly notified Plaintiff of its intent to withdraw as counsel via

multiple telephone conferences prior to the filing of this Motion. Fuksa Khorshid has also served

this Motion on Plaintiff via regular U.S. mail and certified U.S. mail, return receipt requested.

       6.      Pursuant to LR 83.17, Fuksa Khorshid has included a Notification of Party

Contact Information with this Motion as Exhibit A.

       7.      Fuksa Khorshid respectfully requests that all pending deadlines and discovery

schedules be extended by sixty (60) days. This would ensure that Plaintiff has an adequate

opportunity to retain substitute counsel and meet said deadlines in light of current events and

restrictions caused by the COVID-19 pandemic.

       8. This Motion is not being brought for purposes of harassment or delay.

       WHEREFORE, Fuksa Khorshid, LLC respectfully requests that this Court grant it leave

withdraw as counsel for Plaintiff Jan Bukowski including withdrawal of Lucas Fuksa and Vincent

Formica as counsel of record, grant Bukowski sixty (60) days to retain substitute counsel and

extend all pending deadlines and discovery schedules as well by sixty (60) days, and for any

further relief this Court deems equitable and just.



Dated: April 29, 2020                                         Respectfully submitted,
                                                              FUKSA KHORSHID, LLC


                                                              /s/Vincent P. Formica


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                                                 2
    Case: 1:19-cv-06859 Document #: 28 Filed: 04/29/20 Page 3 of 3 PageID #:113




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                                CERTIFICATE OF SERVICE

I hereby certify that on April 29, 2020, I served the foregoing Motion to Withdraw as Counsel to
all counsel of record electronically with the United States District Court for the Northern District
of Illinois, East Division via the CM/ECF system which automatically notifies all subscribed
parties. I further served a copy of the foregoing Motion by sending the same to the following
parties via the following methods:

       Jan Bukowski
       7713 S. Leamington Ave
       Burbank IL 60459
       Via Certified U.S. Mail, return receipt requested
       Via Regular U.S. Mail, postage prepaid

                                                              FUKSA KHORSHID, LLC


                                                              /s/Vincent P. Formica




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